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United States Department of Justice

United States Attorney
Southern District of West Virginia

Robert C. Byrd United States Courthouse Mailing Address
300 Virginia Street, East Post Office Box 1713
Suite 4000 Charleston, WV 25326
Charleston, WV 2530] 304-345-2200

1-800-659-8726

January 17, 2019 i

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George J. Cosenza

P.O. Box 4 * . RORY [PEARY il, CLERK alk
Parkersburg, West Virginia 26102-0004  autnom Distiet of West Vieginia

Re: United States v. Paul W. Burke, M.D.

Dear Mr. Cosenza:

This will confirm our conversations with regard to your
client, Paul W. Burke, M.D. (hereinafter “Dr. Burke”). As a result
of these conversations, it is agreed by and between the United
States and Dr. Burke as follows:

1. PENDING CHARGES. Dr. Burke is charged in 6-counts of a
37-count third superseding indictment as follows:

(a) Count One charges Dr. Burke with a violation of 21 U.S.C.

§ 846 (conspiracy to distribute Schedule II controlled
substance) ;

(b) Counts Fifteen, Twenty-One, Twenty-Six, and Thirty-Three
charge Dr. Burke with violations of 21 U.S.C. § 841 (a) (1)
(distributing oxycodone a Schedule II controlled
substance); and

(c) Count Thirty-Seven charges Dr. Burke with a violation of
18 U.S.C. § 1956(h) (conspiracy to money launder) .

2. CHARGING AGREEMENT. Dr. Burke agrees to waive his right
pursuant to Rule 7 of the Federal Rules of Criminal Procedure to
be charged by indictment and will consent to the filing of a
single-count information to be filed in the United States District
Court for the Southern District of West Virginia, a copy of which

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is attached hereto as “Plea Agreement Exhibit A.”

3. RESOLUTION OF CHARGES. Dr. Burke will plead guilty to
said single-count information, which charges him with a violation
of 18 U.S.C. § 371 (conspiracy to distribute controlled substances
not for legitimate medical purposes and outside the course of
professional practice). Following final disposition, the United
States will move to dismiss the charges in Criminal Action No.
5:18-cr-00026 as to Dr. Burke.

4. MAXIMUM POTENTIAL PENALTY. The maximum penalty to which
Dr. Burke will be exposed by virtue of this guilty plea is as
follows:

a. Imprisonment for a period of up to 5 years;

b. A fine of $250,000.00, or twice the gross pecuniary
gain or twice the gross pecuniary loss resulting from
defendant's conduct, whichever is greater;

c. A term of supervised release of 3 years;

d. A mandatory special assessment of $100.00 pursuant
to 18 U.S.C. § 3013; and

@. An order of restitution pursuant to 18 U.S.C. §§ 3663
and 3664, or as otherwise set forth in this plea
agreement.

5. SPECIAL ASSESSMENT. Prior to the entry of a plea pursuant
to this plea agreement, Dr. Burke will tender a check or money
order to the Clerk of the United States District Court for $100.00,
which check or money order shall indicate on its face the name of
defendant and the case number. The sum received by the Clerk will
be applied toward the special assessment imposed by the Court at
sentencing. Dr. Burke will obtain a receipt of payment from the
Clerk and will tender a copy of such receipt to the United States,
to be filed with the Court as an attachment to this plea agreement.
If Dr. Burke fails to provide proof of payment of the special

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assessment prior to or at the plea proceeding, the United States
will have the right to void this plea agreement. In the event this
plea agreement becomes void after payment of the special
assessment, such sum shall be promptly returned to Dr. Burke.

6. LICENSE REVOCATION. Dr. Burke agrees:

a) To surrender his Drug Enforcement Administration
Certificate of Registration (DEA Form 223);

b) Not to oppose revocation of his registration to dispense
controlled substances pursuant to 21 U.S.C. § 824(a) and
21 C.F.R. § 1301.45 on the ground that he has:

xX been convicted of a felony relating to a
controlled substance; and

xX committed such acts as would render his
registration under 21 U.S.C. § 823 inconsistent
with the public interest as determined under that
section; and

Cc) not to apply for re-registration.
7. FORFEITURE. Dr. Burke hereby agrees as follows:

a. Dr. Burke hereby acknowledges and agrees that
notwithstanding the offense of conviction, he
profited from the distribution of controlled
substances not for legitimate medical purposes in the
amount of $41,701.09 and he agrees to forfeit such
amount to the United States. Dr. Burke further agrees
to forfeit to the United States his medical license
issued by the West Virginia Board of Medicine. Dr.
Burke agrees to forfeit that sum and his medical
license to the United States in a civil complaint
filed by the United States and to waive service of
said complaint.

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b. To fully complete and execute, under oath, a
Financial Affidavit in a form supplied by the United
States and to return to counsel for the United States
the completed Affidavit within seven calendar days
from the date of signing this plea agreement;

c. To provide sworn testimony and to execute any
documents deemed necessary by the United States to
effectuate the forfeiture and to transfer title to
the said property to the United States; and

d. To waive any defenses to this criminal action, or to
any related administrative or judicial forfeiture
action, based in whole or in part on the Excessive
Fines Clause of the Eighth Amendment to the
Constitution, or the holding or principles set forth
in United States v. Alexander, 509 U.S. 544 (1993);
United States v. Bajakajian, 524 U.S. 321 (1998);
United States v. Austin, 509 U.S. 602 (1993); and
their progeny.

8. PAYMENT OF MONETARY PENALTIES. Dr. Burke authorizes the
Financial Litigation Unit in the United States Attorney’s Office
to obtain a credit report from any major credit reporting agency
prior to sentencing in order to assess his financial condition for
sentencing purposes. Dr. Burke agrees not to object to the District
Court ordering all monetary penalties (including the special
assessment, fine, court costs, and any restitution that does not
exceed the amount set forth in this plea agreement) to be due and
payable in full immediately and subject to immediate enforcement
by the United States. So long as the monetary penalties are ordered
to be due and payable in full immediately, Dr. Burke further agrees
not to object to the District Court imposing any schedule of
payments as merely a minimum schedule of payments and not the only
method, nor a limitation on the methods, available to the United
States to enforce the judgment.

Dr. Burke authorizes the United States, through the Financial
Litigation Unit, to submit any unpaid criminal monetary penalty to

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the United States Treasury for offset in accordance with the
Treasury Offset Program, regardless of the defendant’s payment
status or history at that time.

In addition to any payment ordered by the Court, Dr. Burke
shall pay all monies received from any source other than earned
income, including but not limited to, lottery winnings, gambling
proceeds, judgments, inheritances, and tax refunds, toward the
court ordered restitution or fine.

Dr. Burke agrees that if he retains counsel or has appointed
counsel in response to the United States’ efforts to collect any
monetary penalty, he shall immediately notify the United States
Attorney’s Office, Attention: Financial Litigation Unit, P.O. Box
1713, Charleston, West Virginia 25326-1713, in writing and shall
instruct his attorney to notify FLU immediately of his
representation.

9, COOPERATION. Dr. Burke will be forthright and truthful
with this office and other law enforcement agencies with regard to
all inquiries made pursuant to this agreement, and will give
Signed, sworn statements and grand jury and trial testimony upon
request of the United States. In complying with this provision,
Dr. Burke may have counsel present except when appearing before a
grand jury. Further, Dr. Burke agrees to be named as an unindicted
co-conspirator and unindicted aider and abettor, as appropriate,
in subsequent indictments or informations.

10. USE IMMUNITY. Unless this agreement becomes void due
to a violation of any of its terms by Dr. Burke, and except as
expressly provided for in paragraph 12 below, nothing contained in
any statement or testimony provided by him pursuant to this
agreement, or any evidence developed therefrom, will be used
against him, directly or indirectly, in any further criminal
prosecutions or in determining the applicable guideline range
under the Federal Sentencing Guidelines.

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11. LIMITATIONS ON IMMUNITY. Nothing contained in this

agreement restricts the use of information obtained by the United
States from an independent, legitimate source, separate and apart
from any information and testimony provided pursuant to this
agreement, in determining the applicable guideline range or in
prosecuting Dr. Burke for any violations of federal or state laws.
The United States reserves the right to prosecute Dr. Burke for
perjury or false statement if such a situation should occur
pursuant to this agreement.

12. STIPULATION OF FACTS AND WAIVER OF FED. R. EVID. 410.
The United States and Dr. Burke stipulate and agree that the facts
comprising the offense of conviction include the facts outlined in
the “Stipulation of Facts,” a copy of which is attached hereto as
“Plea Agreement Exhibit B.”

Dr. Burke agrees that if he withdraws from this agreement, or
this agreement is voided as a result of a breach of its terms by
him, and he is subsequently tried for his conduct alleged in the
second superseding indictment and other relevant conduct, as more
specifically described in the Stipulation of Facts, the United
States may use and introduce the Stipulation of Facts in the United
States case-in-chief, in cross-examination of Dr. Burke or of any
of his witnesses, or in rebuttal of any testimony introduced by
him or on his behalf. Dr. Burke knowingly and voluntarily waives,
see United States v. Mezzanatto, 513 U.S. 196 (1995), any right he
has pursuant to Fed. R. Evid. 410 that would prohibit such use of
the Stipulation of Facts. If the Court does not accept the plea
agreement through no fault of the defendant, or the Court declares
the agreement void due to a breach of its terms by the United
States, the Stipulation of Facts cannot be used by the United
States.

The United States and Dr. Burke understand and acknowledge
that the Court is not bound by the Stipulation of Facts and that
if some or all of the Stipulation of Facts is not accepted by the
Court, the parties will not have the right to withdraw from the

plea agreement.

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13. WAIVER OF APPEAL AND COLLATERAL ATTACK. Dr. Burke

knowingly and voluntarily waives his right to seek appellate review
of his conviction and of any sentence of imprisonment, fine, or
term of supervised release imposed by the District Court, or the
Manner in which the sentence was determined, on any ground
whatsoever including any ground set forth in 18 U.S.c. § 3742 (a),
except that the defendant may appeal any sentence that exceeds the
maximum penalty prescribed by statute. Dr. Burke also knowingly
and voluntarily waives any right to seek appellate review of any
claim or argument that (1) the statute of conviction 18 U.S.C. §
371 is unconstitutional, and (2) Dr. Burke conduct set forth in
the Stipulation of Facts (Plea Agreement Exhibit B) does not fall
within the scope of 18 U.S.C. § 371.

The United States also agrees to waive its right to appeal
any sentence of imprisonment, fine, or term of supervised release
imposed by the District Court, or the manner in which the sentence
was determined, on any ground whatsoever, including any ground set
forth in 18 U.S.C. § 3742(b), except that the United States may
appeal any sentence that is below the minimum penalty, if any,
prescribed by statute.

Dr. Burke also knowingly and voluntarily waives the right to
challenge his guilty plea and conviction resulting from this plea
agreement, and any sentence imposed for the conviction, in any
collateral attack, including but not limited to a motion brought
under 28 U.S.C. § 2255.

The waivers noted above shall not apply to a post-conviction
collateral attack or direct appeal based on a claim of ineffective
assistance of counsel.

14. WAIVER OF FOIA AND PRIVACY RIGHT. Dr. Burke knowingly
and voluntarily waives all rights, whether asserted directly or by
a representative, to request or receive from any department or
agency of the United States any records pertaining to the
investigation or prosecution of this case, including without any

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limitation any records that may be sought under the Freedom of
Information Act (FOIA), 5 U.S.C. § 552, or the Privacy Act of 1974,
5 U.S.C. § 552a, following final disposition.

15. FINAL DISPOSITION. The matter of sentencing is within
the sole discretion of the Court. The United States has made no
representations or promises as to a specific sentence. The United
States reserves the right to:

a. Inform the Probation Office and the Court of all
relevant facts and conduct;

b. Present evidence and argument relevant to the factors
enumerated in 18 U.S.C. § 3553{a);

c. Respond to questions raised by the Court;

d. Correct inaccuracies or inadequacies in the
presentence report;

€. Respond to statements made to the Court by or on
behalf of Dr. Burke;

f. Advise the Court concerning the nature and extent of
Dr. Burke's cooperation; and

g. Address the Court regarding the issue of Dr. Burke’s
acceptance of responsibility.

16. VOIDING OF AGREEMENT. If either the United States or
Dr. Burke violates the terms of this agreement, the other party
will have the right to void this agreement. If the Court refuses
to accept this agreement, it shall be void.

17. ENTIRETY OF AGREEMENT. This written agreement
constitutes the entire agreement between the United States and Dr.
Burke in this matter. There are no agreements, understandings or
recommendations as to any other pending or future charges against
Dr. Burke in any Court other than the United States District Court

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for the Southern District of West Virginia.

Acknowledged and agreed to on behalf of the United States:

MICHAEL B. STUART
wnt States

ld praca D Cox

MONICA D. COLEMAN
Assistant United States Attorney

MDC/smw

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I hereby acknowledge by my initials at the bottom of each of
the foregoing pages and by my signature on the last page of this
ten-page agreement that I have read and carefully discussed every
part of it with my attorney, that I understand the terms of this
agreement, and that I voluntarily agree to those terms and
conditions set forth in the agreement. I further acknowledge that
my attorney has advised me of my rights, possible defenses, the
Sentencing Guideline provisions, and the consequences of entering
into this agreement, that no promises or inducements have been
made to me other than those in this agreement, and that no one has
threatened me or forced me in any way to enter into this agreement.
Finally, I am satisfied with the representation of my attorney in
this matter.

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Paul W. Burke, M.D. Date Signed c
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Coynse Defendant

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UNITED STATES DISTRICT COURT FOR THE
SOUTHERN DISTRICT OF WEST VIRGINIA
CHARLESTON

UNITED STATES OF AMERICA

Vv. CRIMINAL NO.
18 U.S.C. § 371

PAUL W. BURKE, M.D.

INFORMATION

(Conspiracy to Distribute Controlled Substances Not for a
Legitimate Medical Purpose and Beyond the Bounds of Medical
Practice)

The United States Attorney Charges:

i, From in or about April 2014, through in or about
September 2014, at or near Charleston, Kanawha County, West
Virginia, within the Southern District of West Virginia, defendant
PAUL W. BURKE, M.D., did knowingly conspire and agree with two or
more persons known and unknown to the United States Attorney, to
commit an offense against the United States, that is to distribute
Schedule II controlled substances, including a mixture and
substance containing oxycodone, not for a legitimate medical
purpose in the usual course of professional practice and beyond
the bounds of medical practice, in violation of 21 U.S.c. §
B41 (a) (1).

2. In furtherance of the conspiracy and to effect its

objective, defendant PAUL W. BURKE, JUR., committed the following

and other overt acts:

PLEA AGREEMENT EXHIBIT “A”
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a. On July 2, 2014, while working at the HOPE Clinic in
Charleston, Kanawha County, West Virginia, defendant BURKE wrote
HOPE Clinic customer N.J. a prescription for 90 oxycodone 30 mg
pills not for a legitimate medical purpose in the usual course of
professional practice and beyond the bounds of medical practice.
Defendant Burke had never examined customer N.J. or even met
customer N.J. before issuing the prescription on July 2, 2014.
Defendant BURKE did not review customer N.J.’s entire medical chart
before prescribing oxycodone to her in order to determine whether
treating her with opioids was medically necessary or appropriate.
Defendant BURKE did not discuss with customer N.J. at any time her
prior failed drug screens, including a prior failure for illicit
cocaine. Defendant BURKE did not warn customer N.J. about the
danger of taking drugs not as prescribed, and did not discuss with
customer N.J. the possibility of addiction or chemical dependency.
Defendant BURKE did not discuss any future treatment plan with
customer N.J., and did not discuss or review any medical treatment
other than writing a prescription for highly addictive opioid
medication. Defendant BURKE did not observe any such documentation
in customer N.J.’s chart by any physician at HOPE Clinic.

b. On August 25, 2014, defendant BURKE wrote prescriptions
to customer S.W. for 150 oxycodone 15 mg and 60 Percocet 10 mg not
for a legitimate medical purpose in the usual course of

professional practice and beyond the bounds of medical practice.

PLEA AGREEMENT EXHIBIT “A”
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Customer S.W.’s first visit to the HOPE Clinic was on December 18,
2012. She had an MRI report with essentially normal findings and
no other prior medical records in her chart. Between December 2012
and August 2014, seven different doctors, including defendant
BURKE, at the HOPE Clinic, wrote customer S.w. a total of 720
oxycodone 10 mg pills and 2,550 oxycodone 15 mg pills not for a
legitimate medical purpose in the usual course of professional
practice and beyond the bounds of medical practice. Customer S.W.
took seven drug tests during this time and failed every single one
and no physician, including defendant BURKE, discussed with
customer S.W. drug addiction, drug abuse, drug treatment, or drug
diversion.
In violation of Title 18, United States Code, Section 371.

MICHAEL B. STUART
United States Attorney

By:

MONICA D. COLEMAN
Assistant United States Attorney

PLEA AGREEMENT EXHIBIT “A”
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA
BECKLEY

UNITED STATES OF AMERICA

Vv. CRIMINAL. NO.

PAUL W. BURKE, M.D.

STIPULATION OF FACTS

The United States and Paul W. Burke, M.D. (hereinafter
“defendant” or “I”) stipulate and agree that the facts comprising
the offense of conviction in the single-count Information include
the following:

At all relevant times, defendant was licensed by the State of
West Virginia to practice medicine through the West Virginia Board
of Medicine and maintained a DEA registration number.

Overview

The Charleston HOPE Clinic was located at 4407. MacCorkle
Avenue, Charleston, Kanawha County, West Virginia. Paul W. Burke,
M.D., worked at the Charleston HOPE Clinic from April 2014 through
September 2014. As detailed below, many of the prescriptions
defendant Burke and his co-defendant practitioners wrote for HOPE
Clinic customers were illegal, as they were not for a legitimate
medical purpose in the usual course of professional medical
practice and were beyond the bounds of medical practice. Even if
Burke subjectively believed that the customers for whom he wrote
prescriptions were suffering from chronic pain and the
prescriptions he wrote for those patients were meant to address
that pain, many of those prescriptions that both he and the other
HOPE Clinic doctors wrote were illegal because objectively, they
were not for legitimate medical reasons in the usual course of
professional medical practice and were beyond the bounds of medical
practice because, among other reasons, the charts did not contain
appropriate medical records justifying the treatment with opioids,
the doctors did not discuss other treatments for pain besides
opioids, and the doctors ignored or overlooked clear signs of
abuse, addiction, and diversion, all of which fell so far below

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the standard of medical practice generally recognized and accepted
in the professional medical community as to make the prescriptions
illegal.

The HOPE Clinic received payments from these customers, and
defendant Burke received bonuses for his work at the HOPE Clinic
from funds resulting from the customer payments, based upon the
monthly profit from the number of customers who visited and paid
each month. These. bonuses promoted the conspiracy to distribute
controlled substances not for legitimate medical purposes in the
usual course of professional medical practice and beyond the bounds
of medical practice.

Distribution of Controlled Substances Not
For Legitimate Medical Purposes in the
Usual Course of Professional Medical Practice and
Beyond the Bounds of Medical Practice

James Blume, D.O., owned the HOPE Clinic and contracted Mark
Radcliffe as the practice manager to run the daily operations of
the HOPE Clinic. Mark Radcliffe owned and operated PPPFD, which
purportedly functioned to allow doctors to safely and legally
prescribe opioids, such as oxycodone, to customers and to allow
pharmacies to safely dispense those opioids by weeding out alleged
“diverters” of opioid prescriptions who, among other things:

* sought prescriptions from multiple doctors,
* abused opioids and other drugs, and

e illegally sold their opioid prescriptions to other
individuals.

While James Blume was a licensed medical doctor, Mark
Radcliffe was not a licensed medical professional. James Blume
recruited Burke to work at the HOPE Clinic despite Burke being
primarily an emergency room doctor and surgeon with little
experience in dealing with chronic pain patients and no training
in prescribing schedule II narcotics for the treatment of chronic
pain. Blume explained to Burke that narcotics auditors employed
by PPPFD, who were “former DEA Agents,” would screen customers for
abuse, addiction, and diversion prior to the customer ever seeing
him.

In approximately April 2014, Burke began working at the
Charleston HOPE Clinic. Burke understood at the time he was
contracted that the purpose of HOPE Clinic was to provide pain
customers with oral opiate pain medicine. As Mark Radcliffe and

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James Blume knew, however, Burke had no background or specialized
training in chronic pain management.

Throughout his work at HOPE Clinic, Burke understood through
his interactions, conversations, and correspondence with James
Blume, PPPFD employees, and other doctors at HOPE Clinic, that the
main purpose of HOPE Clinic was to provide opioid prescriptions on
a monthly basis to customers visiting HOPE Clinic.

At Mark Radcliffe’s direction, PPPFD employees interviewed
each customer on a monthly basis and took their vital signs.
Sometimes PPPFD employees performed drug screens to ascertain
(1) whether customers were taking their medications as prescribed,
or (2) whether customers were using other controlled substances
without a prescription or (3) whether customers were using illicit
controlled substances. However, customers’ drug screen failures
seldom affected whether Burke and other HOPE Clinic doctors
continued to prescribe Schedule II narcotics.

Burke was one of four primary physician at the Charleston
location of the HOPE Clinic from April 2014 through September 2014.
At a customer’s initial visit, Burke or one of his co-defendant
practitioners met with the customer. A customer usually received
a monthly prescription for opioids at his or her initial visit,
frequently without regard to whether the customer’s conditions or
initial examination medically justified the prescription of
Schedule II narcotics.

For a customer to receive additional prescriptions, Mark
Radcliffe and PPPFD required the customer to return to HOPE Clinic
every 28 days and pay a fee. Pursuant to guidelines established
by Mark Radcliffe, customers typically only met with non-medical
PPPFD staff on the customers’ second and third visits to HOPE
Clinic to receive opioid prescriptions. Generally, Burke only
encountered HOPE Clinic customers once every three visits to the
clinic. During customers’ return visits, Burke typically either
performed cursory examinations or performed no examinations. As
he and the other doctors at HOPE Clinic knew, Burke and the other
dectors at HOPE Clinic did not create any meaningful treatment
plans for customers. Generally, there was no documentation in
customer charts that Burke discussed or reviewed prior treatments
with customers; discussed or reviewed alternative treatments with
customers such as physical therapy, chiropractor, or trigger point
injections; discussed the benefits and risks of opioids; or
discussed long-term goals with customers other than prescribing
opioids.

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While Dr. Burke worked for the HOPE Clinic, he was a temporary
employee hired by an outside company that supplied doctors to the
HOPE Clinic on a contract basis. Burke was paid an hourly rate by
the outside company. In addition to his hourly pay, Burke received
bonuses, paid by James Blume, based on the number of paying
customers at the HOPE Clinic. Some months, Burke’s bonus exceeded
his hourly pay.

Whether Burke examined the customers or whether customers
only met with non-medical PPPFD employees, Burke signed customers’
opioid prescriptions for Schedule II narcotics. The prescriptions
commonly were for oxycodone and oxycodone-based narcotics such as
Percocet, Roxicodone, and Endocet. Burke wrote these prescriptions
at times even after customers’ drug screened positive for other
controlled substances the customers were not prescribed, or even
after customers’ drug screened negative for prescribed medications
by the HOPE Clinic.

Defendant’s Factual Basis for Offense of Conviction

Before I started working at the Charleston HOPE Clinic, I was
skeptical of working in a pain clinic. After talking with Drs.
Blume and Gullett, I was more comfortable that the Clinic was
properly treating patients. When I started working at the HOPE
Clinic, it became apparent that some of the customers were not
getting properly evaluated prior to the doctors writing them
prescriptions for opioids. The customers’ files were poorly kept
and had little relevant medical information in them. Many of the
patients came to the HOPE Clinic from out of State, and most
customers paid in cash. I often received a bonus on top of my
hourly pay that was clearly based on the number of paying customers
at the Clinic. Despite all of these red flags, I continued to
work at the HOPE Clinic and I continued to write customers
prescriptions for Schedule II narcotics.

For example, patient N.J. lived in the state of Ohio and
traveled to Charleston, West Virginia to get opioid prescriptions
from doctors at the HOPE Clinic. N.J. was addicted to opioid
medication and was also selling opioid pain medication for money.
N.J. heard that she could travel to the HOPE Clinic in Charleston,
West Virginia and receive prescription medication with little to
no medical documentation. After receiving her preseription from
HOPE Clinic, N.J. would distribute her pills in Ohio for profit.

1Because I only worked at the Charleston HOPE Clinic, I do not
have personal knowledge of how the Beckley and Wytheville HOPE
Clinics operated.

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N.J. travelled to the HOPE Clinic with a group of individuals from
Ohio who were also selling their prescriptions.

N.J.’s first visit to the HOPE Clinic was on September 25,
2012, and she was seen by Dr. Stanley who prescribed her oxycodone
at a total of 40 milligrams per day. There were minimal medical
records in N.J.’s chart and meager medical documentation to support
a prescription for opioid medication. Other than N.J.’s self-
reported pain level, the chart does not document any reason or
rationale to immediately start N.J. on that dosage of oxycodone.
Further, the chart does not contain any mention of alternative
treatment options such as physical therapy or lifestyle
modification.

On January 15, 2013, N.J. had a positive drug test. for
nonprescribed Tramadol, but on her next visit, February 12, 2013,
Dr. Stanley continued to prescribe her oxycodone and he did not
even note in her chart that they discussed (or that he even saw)
the failed drug screen. On April 9, 2014, N.J. had a positive
drug test for cocaine metabolite, but on her next visit, May 7,
2014, Dr. Earley prescribed her oxycodone and he did not even note
in her chart that they discussed (or that he even saw) her failed
drug screen.

On July 2, 2014, N.J. traveled from Ohio to the HOPE Clinic
in Charleston, West Virginia, in order to obtain a prescription
for oxycodone. On that day, I did not see N.J., thus, I did not
do a physical examination of N.J. Further, I only reviewed a small
portion of her chart to determine whether treating her with opioids
was medically necessary or appropriate. I did not discuss with
her the prior failed drug screens, nor did I warn her about the
danger of taking drugs not as prescribed, taking drugs not
prescribed, or taking illegal drugs such as cocaine, I did not
discuss with her the possibility of addiction or chemical
dependency. I did not discuss a future treatment plan or attempt
in any way to recommend or discuss any medical treatments other
than simply writing her a prescription for opioids. In fact, no
such discussions were ever documented in her chart. I prescribed
N.J. 90 oxycodone 30 mg pills.

Looking objectively at N.J.’‘s chart, the prescriptions
written by myself, Dr. Stanley, Dr. Earley, and Dr. Gullett were
beyond the bounds of medical practice.

S.W. was another customer of the HOPE Clinic who doctors
should not have prescribed Schedule II opioid medications. Doctors
at the HOPE Clinic, myself included, prescribed oxycodone to S.W.,

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and those prescriptions were not for a legitimate medical reason
in the usual course of professional practice and were beyond the
bounds of medical practice. S.W.’s first visit with a doctor at
the HOPE Clinic was on December 18, 2012. She had an MRI report
which showed mild degree of posterior dise bulging at L5-S1 but
was otherwise normal. There are no other medical records in the
entire chart. Between December 2012 and September 2014, eight
different doctors at the HOPE Clinic wrote her prescriptions for
a total of 720 oxycodone 10 mg pills and 2,670 oxycodone 15 mg
pills. During that less than two year period, she took eight drug
tests and failed every single one. Because of inadequate training,
inexperience, and reliance on PPPFD, I only recognized that she
failed three drug tests. Prior to her being discharged by Dr. Chad
Turner, no one at the HOPE Clinic discussed drug addiction, drug
abuse, drug treatment or drug diversion with §.W. On August 25,
2014, despite the clear evidence of abuse and diversion, I wrote
S.W. a prescription for 150 oxycodone 15 mg and 60 Percocet 10 mg.
An objective review of S.W. chart indicates that these
prescriptions were beyond the bounds of medical practice.

Oxycodone is a Schedule II controllea substance.

Charleston, Kanawha County, West Virginia, is within the
Southern District of West Virginia.

This Stipulation of Facts does not contain each and every
fact known to defendant and to the United States concerning his
involvement and the involvement of others in the charge set forth
in the Information or in the charges set forth in the Third
Superseding Indictment in Criminal No. 5: -18-cr-00026.

Stipulated and agreed to:

Mark? ROCF

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Date /
Me OA bishve

Assistant United States Attorney

